                                Fourth Court of Appeals
                                        San Antonio, Texas
                                               August 14, 2024

                                            No. 04-24-00153-CV

                                IN RE Daniel ALDERETE, JR., Relator

                                            Original Proceeding 1

                                                   ORDER

       On February 26, 2024, relator filed a petition for a writ of mandamus. This court has
determined the relator is not entitled to the relief sought. Therefore, the petition for a writ of
mandamus is DENIED. See TEX. R. APP. P. 52.8.

     Relator’s motion to dismiss and relator’s emergency motion to dismiss or stay are DENIED
as MOOT.

        It is so ORDERED on August 14, 2024.



                                                        _____________________________
                                                        Luz Elena D. Chapa, Justice

       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 14th day of August, 2024.

                                                        _____________________________
                                                        Luz Estrada, Chief Deputy Clerk




1
 This proceeding arises out of Cause No. 2016-CI-05227, styled Analisa M. Alderete v. Daniel Alderete, Jr., in the
37th Judicial District Court, Bexar County, Texas, the Honorable Nadine Melissa Nieto presiding.
